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          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                   NORTHERN DIVISION

MORGAN HANUSOWSKI
#556211                                                     PLAINTIFF

v.                      No. 3:20-cv-254-DPM

KARA BLACK, Head Nurse, Craighead
County Detention Center                                    DEFENDANT

                            JUDGMENT
     Hanusowski' s complaint is dismissed without prejudice.



                                                      (/
                                 D.P. Marshall Jr.
                                 United States District Judge
